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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                           Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.




      PARTIES’ JOINT REQUEST FOR AN EXTENSION OF TIME TO SUBMIT
                 PROPOSED MODIFIED PROTECTIVE ORDER

       Defendant Concord Management and Consulting, LLC (“Defendant” or “Concord”) and

the United States (collectively, the “Parties”), by and through counsel, hereby jointly request leave

of the Court for an extension until Friday, August 23, 2019, to submit their joint proposal for a

Modified Protective Order. The Parties have made progress and reached consensus on many of

the provisions of their proposed Modified Protective Order; however, a few of the logistical details

regarding the procedures for transportation and storage of the newly classified “Intermediate

Sensitive” discovery materials will require additional time to plan and discuss. Additionally, the

Parties want to address the issues raised previously by the Court, in particular at the January 7,

2019 hearing, regarding the need for clarifications to the terms of the existing Protective Order,

such as the mechanics of how the firewall counsel process will work, as well as other revisions

that may be appropriate. The Parties discussed these revisions several months ago but believe

additional time would be helpful to finalize those points. The Parties are striving to submit a

proposal that will be acceptable to both Parties and the Court, and that will clearly spell out these




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procedures to avoid any confusion in or disputes over the future implementation of the Modified

Protective Order.

       WHEREFORE, the parties ask for the Court’s leave to file their joint proposal for a

Modified Protective Order on or before August 23, 2019.



                                    Respectfully submitted,


JOHN C. DEMERS                                            JESSIE K. LIU
Assistant Attorney General for National Security          United States Attorney

By:      /s/                                              By:      /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2019, I caused a copy of the foregoing motion to seal to

be transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.


                                                            By:       /s/
                                                            Kathryn L. Rakoczy
                                                            Assistant United States Attorney
                                                            555 Fourth Street NW
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